         Case 1:96-cv-08414-KMW Document 7018 Filed 01/11/21 Page 1 of 2

                                                            USDC SDNY
                                                            DOCUMENT
UNITED STATES DISTRICT COURT                                ELECTRONICALLY FILED
SOUTHERN DISTRICT OF NEW YORK                               DOC #: __________________
----------------------------------------------------X       DATE FILED: January 11, 2021
GULINO, ET AL.,

                   Plaintiffs,

          -against-                                               96-CV-8414 (KMW)

THE BOARD OF EDUCATION OF THE                                          ORDER
CITY SCHOOL DISTRICT OF THE CITY
OF NEW YORK,

                   Defendant.
----------------------------------------------------X
KIMBA M. WOOD, United States District Judge:

        On May 20, 2014, this case was referred to Special Master John Siffert pursuant to

Federal Rule of Civil Procedure 53(a)(1)(B) and this Court’s inherent equitable powers and

authority. (ECF Nos. 435, 524.) On December 31, 2020, Special Master Siffert filed a Report

and Recommendation (“R&R”), recommending that this Court adopt the Findings of Fact and

Conclusions of Law for the fourth cohort of class members whose damages were determined

using the Expedited Damages Model, identified in the Appendix to Exhibit 1 of the R&R

(“Fourth Cohort of Expedited Class Members”); enter the Proposed Judgments submitted with

the R&R as Exhibits 3-8; and certify those Proposed Judgments as final and appealable pursuant

to Federal Rule of Civil Procedure 54(b). (ECF No. 7016.)

        The parties agree that objections that have been preserved in the record do not need to be

resubmitted to the Court in connection with this R&R. The parties further agree that the Court

may adopt or reject the R&R on the basis of the arguments and objections to rulings contained in

the record.

        As set forth in the Second Amended Order of Appointment and consistent with Federal

Rule of Civil Procedure 53(f), the Court reviews de novo all objections to conclusions of law and

                                                        1
       Case 1:96-cv-08414-KMW Document 7018 Filed 01/11/21 Page 2 of 2




findings of fact made or recommended by the Special Master. (ECF No. 524.) Upon de novo

review of the R&R, as well as the Findings of Fact and the Conclusions Law—and after

reviewing the previous Interim R&Rs that this Court has already adopted—the Court adopts the

Findings of Fact and Conclusions of Law for the Fourth Cohort of Expedited Class Members;

will enter the Proposed Judgments for the Fourth Cohort of Expedited Class Members; expressly

determines that there is no just reason for delay; and certifies the Proposed Judgments for the

Fourth Cohort of Expedited Class Members as final and appealable pursuant to Federal Rule of

Civil Procedure 54(b).



SO ORDERED.

Dated: New York, New York
       January 11, 2021                                      /s/ Kimba M. Wood
                                                              KIMBA M. WOOD
                                                           United States District Judge




                                                 2
